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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is MOOT.



  Dated: October 11, 2019
                                            ________________________________________
                                                         TONY M. DAVIS
                                               UNITED STATES BANKRUPTCY JUDGE
  ____________________________________________________________




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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

   IN RE:
                               O       §
                                       §     CASE NO. 16-10020-TMD
   FPMC AUSTIN REALTY                  §     (Chapter 11)
   PARTNERS, LP,                       §
                                       §
               Debtor.                 §
               O
   HOWARD MARC SPECTOR, AS             §
   RECEIVER OF NEAL RICHARDS           §
   GROUP AUSTIN DEVELOPMENT,           §     CONTESTED MATTER
   LLC,                                §
M

                                       §     MOTION FOR ORDER TO
                     Movant,           §     SHOW CAUSE (DOC. NO. 311)
                                       §
   VS.                                 §
                                       §
   gLENDONTODD CAPITAL, LLC AND        §
   TODD FURNISS,                       §
                                       §
                     Respondents.      §
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          ORDER GRANTING MOTION TO RECONSIDER ORDER RULING AND
                  ABATING IN PART SHOW CAUSE PROCEEDING
                            [RELATED TO D.E. #413]

          Before the Court is gLENDONTODD CAPITAL LLC (“GTC”) and TODD FURNISS’

   Motion to Reconsider Order Ruling and Abating in Part Show Cause Order (D.E. #413) (the

   “Motion”). Having considered the Motion and any support therefore or opposition thereto, the

   Court is of the opinion that the Order should be granted.

          Accordingly, it is ORDERED as follows:

          1.      The motion is GRANTED.

          2.      The Court’s Order Ruling and Abating in Part Show Cause Order (D.E. #413) is

   hereby set aside as set forth in the Motion.



   Submitted by:
   Charles R. Gibbs

                                                   T
                                      # # # END OF ORDER # # #



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